                Case:
ILND 450 (Rev. 10/13)     1:18-cv-06420
                      Judgment in a Civil Action   Document #: 17 Filed: 09/24/19 Page 1 of 1 PageID #:44

                                        IN THE UNITED STATES DISTRICT COURT
                                                      FOR THE
                                           NORTHERN DISTRICT OF ILLINOIS

    Clarissa Perez,

    Plaintiff(s),
                                                                    Case No. 18-cv-6420
    v.                                                              Judge Sara L. Ellis

    GMA Investments, LLC,

    Defendant(s).

                                                    JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s) Clarissa Perez
                    and against defendant(s) GMA Investments, LLC d/b/a Summit Receivables, LLC
                    in the amount of $3,720.42 ,

                             which          includes       pre–judgment interest.
                                            does not include pre–judgment interest.

            Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

            Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s)
                    and against plaintiff(s)
.
            Defendant(s) shall recover costs from plaintiff(s).


                    other:

This action was (check one):

         tried by a jury with Judge     presiding, and the jury has rendered a verdict.
         tried by Judge     without a jury and the above decision was reached.
         decided by Judge Sara L. Ellis on a motion for default judgment.



Date: 9/24/2019                                                 Thomas G. Bruton, Clerk of Court

                                                                Rhonda Johnson , Deputy Clerk
